AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                         Middle District of Tennessee

           UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                 V.                                    )   (For Revocation of Probation or Supervised Release)

                 DAVID LEWIS WIGGINS                                   )
                                                                           Case No. 3:06-cr-00167
                                                                           USM No. 18147-075
                                                                            David Komisar
                                                                                                   Defendant's Attorney
THE DEFENDANT:
56 admitted guilt to violation of condition(s)           1                                 of the term of supervision.
❑   was found in violation of condition(s) count(s) _                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                                  Violation Ended
1                              Commission of a federal crime                                                       02/02/2019




       The defendant is sentenced as provided in pages 2 through               2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
I6 The defendant has not violated condition(s)            2, 3 and 4          and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Sec. Sec. No.: 4264                                                     11/02/2021
                                                                                               Date of Imposition of Judgment
Defendant's Year of Birth:            1959                                                                     f




City and State of Defendant's Residence:                                                             Signature of Judge
Not Applicable
                                                                                     Eli Richardson, United States District Ju
                                                                                                    Name and Title of Judge

                                                                                                  ti V`e'yy~ j C~             5~ - 2, 0 2—'
                                                                                                               Date




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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   2    of   2
DEF$NDANT: DAVID LEWIS WIGGINS
CASE NUMBER: 3:06-cr-00167


                                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
18 months - to run consecutive,to the sentence of 171 months imposed in M.D. Tenn. case number 3:19-cr-00296.




     ❑   The court makes the following recommendations to the Bureau of Prisons:




     Rf The defendant is remanded to the custody of the United States Marshal.

     ❑   The defendant shall surrender to the United States Marshal for this district:
         ❑    at                                 ❑ a.m.         ❑ p.m.     on
         ❑    as notified by the United States Marshal.

     ❑   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ❑    before 2 p.m. on
         ❑    as notified by the United States Marshal.
         ❑    as notified by the Probation or Pretrial Services Office.




I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL




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